                           Case 1:20-sw-00116-GMH Document 1 Filed 05/01/20 Page 1 of 26
                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 20-sw-116
      SIX CELLULAR TELEPHONES FURTHER                                       )
          DESCRIBED IN ATTACHMENT A                                         )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  See Attachment A incorporated herein.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B incorporated herein.




        YOU ARE COMMANDED to execute this warrant on or before                     5/15/2020           (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to              Magistrate Judge G. Michael Harvey             .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:                05/01/2020
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                           Magistrate Judge G. Michael Harvey
                                                                                                        Printed name and title
                           Case 1:20-sw-00116-GMH Document 1 Filed 05/01/20 Page 2 of 26
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 20-sw-116
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
                     Case 1:20-sw-00116-GMH Document 1 Filed 05/01/20 Page 3 of 26
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________    of Columbia
                                                                           of __________

              In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)                       )              Case No. 20-sw-116
  SIX CELLULAR TELEPHONES FURTHER                                            )
                                                                             )
      DESCRIBED IN ATTACHMENT A                                              )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A incorporated herein.

located in the                                    District of                 Columbia                    , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B incorporated herein.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 844(i)                        Damage by means of fire or explosive any property used in interstate or foreign commerce
        18 U.S.C. § 924(c)                        Poss. firearm during crime of violence
        26 U.S.C. § 5861(d)                       Unregistered firearm
        26 U.S.C. § 5861(f)                       Manufacture of firearm in violation of provisions of 5861
          The application is based on these facts:
        See attached affidavit

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                      ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                            STEVEN LETTENEY Digitally signed by STEVEN LETTENEY
                                                                                                            Date: 2020.04.30 16:08:31 -04'00'

                                                                                                        Applicant’s signature

                                                                                                      Agent Steve Letteney
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            05/01/2020
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                              Magistrate Judge G. Michael Harvey
                                                                                                        Printed name and title
         Case 1:20-sw-00116-GMH Document 1 Filed 05/01/20 Page 4 of 26




                               ATTACHMENT A

                              Property to be searched

Item #    Description
          COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1688
000011    CELL PHONE, IMEI: 355729075084355, WITH NO SIM
          COMPUTER EVIDENCE: CELL PHONE, ONE TCL WITH SIM CARD
000013    BEARING ICCID: 8901260022115829939
          COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1897
000014    CELL PHONE, IMEI: 354834093001752, WITH CASE AND NO SIM
          COMPUTER EVIDENCE: CELL PHONE, ONE CELL PHONE MOD:
000015    ONE TOUCH 875T, IMEI: 013337000537770 WITH SIM
          COMPUTER EVIDENCE: CELL PHONE, ONE MOTOROLA MOD:
000016    XT1921-3 CELL PHONE, IMEI: 354146091623978 WITH NO SIM
          COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1660
000017    CELL PHONE, IMEI: 359461082313108 WITH NO SIM
            Case 1:20-sw-00116-GMH Document 1 Filed 05/01/20 Page 5 of 26




                                        ATTACHMENT B

                                       Property to be seized

                All information and data contained within the devices, to include, but not limited

to fruits, evidence, information relating to, contraband, or instrumentalities, in whatever form and

however stored, relating to evidence and instrumentalities of violations of federal laws,

specifically, of Title 18, United States Code, Sections 844(i), 924(c) and Title 26, United States

Code Section 5861(d) and (f) (the “target offenses”). Specifically, as described in the search

warrant affidavit, including, but not limited to: call logs, phone books, photographs, voice mail

messages, text messages, images and video, Global Positioning System data, and any other stored

electronic data:


       (i)      establishing or documenting the preparation to commit or the commission of the

target offenses;

       (ii)     identifying locations where the individual committed the target offenses, traveled

to before and after the commission of the target offenses, and in preparation for the target offenses;

       (iii)    reflecting the ownership and use of the items identified in Attachment A by the

individual committing the target offenses;

       (iv)     documenting meetings and communications between individuals committing one

or more of the target offenses;

       (v)      reflecting communications between the individual committing one or more of the

target offenses and other individuals, discussing the commission of one or more of the target

offenses;

                                                  2
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       (vi)     reflecting communications between the individual committing one or more of the

target offenses and other individuals who may have assisted or provided support in the commission

of one or more of the target offenses;

       (vii)    containing photographs or video that would constitute evidence of a violation of

the target offenses;

       (viii)   documenting or containing evidence of the manufacturing, obtaining, secreting,

transfer, expenditure and/or the concealment of explosives, which would constitute evidence of

one of the target offenses; and

       (ix)     documenting or containing evidence of the purchase of items from the assets

derived from the commission of an arson, firearms or explosives trafficking offense in violation

of Title 18, United States Code, Sections 844(i), 924(c) and Title 26, United States Code Section

5861(d) and (f)which would constitute evidence of one of the target offenses.




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
 SIX CELLULAR TELEPHONES
 FURTHER DESCRIBED IN                               SW No. 20-sw-116
 ATTACHMENT A


            AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                    FOR A WARRANT TO SEARCH AND SEIZE

       I, Steven Letteney, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the electronic devices listed below which are

currently stored in Washington, D.C. hereinafter “Target Devices,” further described in

Attachment A, for the things described in Attachment B.

 Item #     Description
            COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1688
 000011     CELL PHONE, IMEI: 355729075084355, WITH NO SIM
            COMPUTER EVIDENCE: CELL PHONE, ONE TCL WITH SIM CARD
 000013     BEARING ICCID: 8901260022115829939
            COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1897
 000014     CELL PHONE, IMEI: 354834093001752, WITH CASE AND NO SIM
            COMPUTER EVIDENCE: CELL PHONE, ONE CELL PHONE MOD:
 000015     ONE TOUCH 875T, IMEI: 013337000537770 WITH SIM
            COMPUTER EVIDENCE: CELL PHONE, ONE MOTOROLA MOD:
 000016     XT1921-3 CELL PHONE, IMEI: 354146091623978 WITH NO SIM
            COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1660
 000017     CELL PHONE, IMEI: 359461082313108 WITH NO SIM


       2.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF). I have been in this position since October 2014. Before employment with
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ATF, your affiant was a Special Agent with the U.S. Department of State, Diplomatic Security

Service, for approximately five years. Your affiant is an investigative law enforcement officer of

the United States within the meaning of Section 2510(7) of Title 18 United States Code, and I am

empowered by law to conduct investigations and to make arrests for the offenses enumerated in

Section 2516 of Title 18 United States Code. Your affiant has received training and experience in

interviewing and interrogation techniques, surveillance techniques, arrest procedures, search and

seizure, and asset forfeiture. Your affiant also has specific and extensive additional training and

experience with explosives and explosive investigations. Your affiant has also been involved in

firearms, explosives, tobacco, gang, organized crime, money laundering, and drug investigations,

including the possession with intent to distribute and distribution of controlled substances, and

conspiracies and offenses.

       3.       Your affiant is presently assigned to Falls Church Group I of the Washington Field

Division of the ATF. This group runs the Washington, D.C. Arson and Explosives Task Force,

which is responsible for Arson and Explosives investigations in Washington, D.C. and Northern

Virginia.

       4.       In the course of his training and experience, your affiant has become familiar with

the methods and techniques associated with the manufacturing, distribution and possession of

destructive devices and explosives. In the course of conducting investigations, your affiant has

been involved in the use of the following investigative techniques: interviewing informants and

cooperating witnesses; conducting physical surveillance; conducting short-term undercover



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operations; consensual monitoring and recording of both telephonic and non-telephonic

communications; analyzing caller identification system data; and executing search warrants that

have led to substantial seizures of narcotics, firearms, and other contraband.

       5.      Through instruction, training, and participation in investigations, as well through

consultation with other agents and law enforcement personnel, your affiant has become familiar

with the manner and methods by which illegal destructive device manufacturers/users manufacture

and use their illegal destructive devices. As a Special Agent with ATF, your affiant conducts

criminal investigations in coordination with ATF Industry Operations Investigators (IOI)

regarding violations of Federal firearm and explosive laws.        ATF IOIs are responsible for

regulating the explosives industry.

       6.      Through instruction, training, and participation in investigations, as well through

consultation with other agents and law enforcement personnel, I have become familiar with the

manner and methods by which individuals manufacture, possess or use illegal destructive devices.

Based on this training and experience, I have learned that:

                a. It is common for manufacturers to maintain parts and pieces of devices in

                    secure locations within residences, vehicles, businesses and other locations

                    over which they maintain dominion and control, for ready access, and to

                    conceal these items from law enforcement authorities.

                b. It is common for device manufacturers, possessors or users to maintain

                    additional destructive devices in secure locations within residences, vehicles,



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        businesses and other locations over which they maintain dominion and control,

        for ready access, and to conceal these items from law enforcement authorities.

     c. Device manufactures, possessors, or users may also keep records of their

        activities to ensure they receive payment for the devices or to show there

        testing and use to other interested parties. These records may be in written or

        electronic form. Device manufacturers, possessors or users may maintain

        books, records, receipts, notes, ledgers, money orders, bank records, money,

        safety deposit boxes and keys, numerous business cards, photographs, address

        and telephone number books and papers, and other documentation relating to

        the transportation, ordering, sale and distribution of destructive devices, and

        contact information for associates and co-conspirators. This documentary

        evidence may include credit card and hotel receipts, plane and bus tickets and

        receipts, car rental receipts, accounts and records in fictitious names, false

        identification, money orders, cashier’s checks relating to cash transactions and

        records indicating the existence of storage/manufacturing facilities used.

     d. It also is common to maintain and store the aforementioned evidence of on

        electronic storage devices, including computers, mobile or cellular telephones,

        personal digital assistants (PDAs), handheld computers, MP3 players, digital

        hard drives, including, but not limited to iPods and external storage drives; and

        the media to store information, including diskettes, tapes or data storage



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                    devices.      Additionally, destructive device manufacturers, possessors and/or

                    users may have photographs or video tapes of themselves manufacturing,

                    testing or using such devices, and such items are often kept in their residence.

                e. It is common for individuals who manufacture, possess or use illegal

                    destructive devices to maintain in their residence items of clothing worn during

                    previous uses of said devices. Generally, it is uncommon for individuals to

                    purchase clothing to wear to while using a device and discard that clothing

                    immediately thereafter. Based upon the training and experience of your affiant

                    and other members of law enforcement, illegal destructive device

                    manufacturers, possessors and users generally wear clothing that is not

                    different from their normal day-to-day clothing.

       7.      As a federal agent, I am authorized to investigate violations of laws of the United

States, and as a law enforcement officer I am authorized to execute warrants issued under the

authority of the United States.

       8.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of Title 18, United States

Code, Sections 844(i), 924(c) and Title 26, United States Code Section 5861(d) and (f) have been

committed by Ashton Nesmith, and that evidence and instrumentalities of violations of these

explosives, firearms and arson laws may be located within the Target Devices. Therefore, there

is also probable cause to search the Target Devices, further described in Attachment A, for the



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things described in Attachment B.

                                            BACKGROUND

       9.      All information contained in this affidavit is either personally known to me or has

been related to me by other law enforcement officers and/or other witnesses, or has been obtained

from records and documents gathered during the course of this investigation. This affidavit

contains information necessary to support probable cause for the search of the Target Devices.

The information contained in this affidavit is for the limited purpose of supporting the search and

is not intended to include each and every fact and matter observed by or known to the affiant.

       10.     Your affiant knows that computers and cellular telephones used by device

manufacturers, possessors or users contain valuable information and evidence relating to their

manufacturing, possession and/or use. Such information consists of, but is not limited to, call logs,

phone books, photographs, voice mail messages, text messages, images and video, Global

Positioning System (GPS) data, browser history, and any other stored electronic data. This

information can (i) reflect the preparation for, arrangement of, and commission of the target

offenses; (ii) identify locations where device manufacturers, possessors or users traveled to before

and after the target offenses; (iii) reflect the ownership and use of the computers and cellular

telephones by the device manufacturers, possessors or users; (iv) document meetings and

communications between device manufacturers, possessors or users, their customers, associates,

and co-conspirators; (v) reflect communications between device manufacturers, possessors or

users and other individuals, discussing the manufacturing, use or possession of devices; (vi) reflect



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communications between device manufacturers, possessors or users and other individuals who

may have assisted or provided support in the manufacturer, possession or use of devices; and (vii)

document or contain evidence of the obtaining, secreting, cutting, manufacturing, transferring,

expenditure and/or the concealment of devices relating to the manufacturer, possession or use of

devices.

                     ELECTRONIC STORAGE AND FORENSIC ANALYSIS


       11.      Based on your affiant’s training and experience, your affiant uses the following

technical terms to convey the following meanings:

                a.      Wireless telephone: A wireless telephone (or mobile telephone, or cellular

telephone) is a handheld wireless device used for voice and data communication through radio

signals.    These telephones send signals through networks of transmitter/receivers, enabling

communication with other wireless telephones or traditional “land line” telephones. A wireless

telephone usually contains a “call log,” which records the telephone number, date, and time of

calls made to and from the phone. In addition to enabling voice communications, wireless

telephones offer a broad range of capabilities. These capabilities include: storing names and phone

numbers in electronic “address books;” sending, receiving, and storing text messages and e-mail;

taking, sending, receiving, and storing still photographs and moving video; storing and playing

back audio files; storing dates, appointments, and other information on personal calendars; and

accessing and downloading information from the Internet. Wireless telephones may also include

global positioning system (“GPS”) technology for determining the location of the device.



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               b.       Digital camera: A digital camera is a camera that records pictures as digital

picture files, rather than by using photographic film. Digital cameras use a variety of fixed and

removable storage media to store their recorded images. Images can usually be retrieved by

connecting the camera to a computer or by connecting the removable storage medium to a separate

reader. Removable storage media include various types of flash memory cards or miniature hard

drives. Most digital cameras also include a screen for viewing the stored images. This storage

media can contain any digital data, including data unrelated to photographs or videos.

               c.       Portable media player: A portable media player (or “MP3 Player” or iPod)

is a handheld digital storage device designed primarily to store and play audio, video, or

photographic files. However, a portable media player can also store other digital data. Some

portable media players can use removable storage media. Removable storage media include

various types of flash memory cards or miniature hard drives. This removable storage media can

also store any digital data. Depending on the model, a portable media player may have the ability

to store very large amounts of electronic data and may offer additional features such as a calendar,

contact list, clock, or games.

               d.       GPS: A Global Positioning System (“GPS”) navigation device uses the

Global Positioning System to display its current location. It often contains records of the locations

where it has been. Some GPS navigation devices can give a user driving or walking directions to

another location. These devices can contain records of the addresses or locations involved in such

navigation. The Global Positioning System consists of 24 NAVSTAR satellites orbiting the Earth.



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Each satellite contains an extremely accurate clock. Each satellite repeatedly transmits by radio a

mathematical representation of the current time, combined with a special sequence of numbers.

These signals are sent by radio, using specifications that are publicly available. A GPS antenna

on Earth can receive those signals. When a GPS antenna receives signals from at least four

satellites, a computer connected to that antenna can mathematically calculate the antenna’s

latitude, longitude, and sometimes altitude with a high level of precision.

               e.       Tablet: A tablet is a mobile computer, typically larger than a phone yet

smaller than a notebook, that is primarily operated by touching the screen. Tablets function as

wireless communication devices and can be used to access the Internet through cellular networks,

802.11 “wi-fi” networks, or otherwise. Tablets typically contain programs called apps, which, like

programs on a personal computer, perform different functions and save data associated with those

functions. Apps can, for example, permit accessing the Web, sending and receiving e-mail, and

participating in Internet social networks.

               f.       IP Address: An Internet Protocol address (or simply “IP address”) is a

unique numeric address used by computers on the Internet. An IP address is a series of four

numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer

attached to the Internet computer must be assigned an IP address so that Internet traffic sent from

and directed to that computer may be directed properly from its source to its destination. Most

Internet service providers control a range of IP addresses. Some computers have static—that is,




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long-term—IP addresses, while other computers have dynamic—that is, frequently changed—IP

addresses.

               g.       Internet: The Internet is a global network of computers and other electronic

devices that communicate with each other. Due to the structure of the Internet, connections

between devices on the Internet often cross state and international borders, even when the devices

communicating with each other are in the same state.

       12.     Based on your affiant’s knowledge, training, and experience, your affiant knows

that electronic devices can store information for long periods of time. Similarly, things that have

been viewed via the Internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.

       13.     There is probable cause to believe that things that were once stored on the Target

Devices may still be stored there, for at least the following reasons:

               a.   Based on my knowledge, training, and experience, I know that computer files

       or remnants of such files can be recovered months or even years after they have been

       downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

       downloaded to a storage medium can be stored for years at little or no cost. Even when

       files have been deleted, they can be recovered months or years later using forensic tools.

       This is so because when a person “deletes” a file on a computer, the data contained in the

       file does not actually disappear; rather, that data remains on the storage medium until it is

       overwritten by new data.



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               b.   Therefore, deleted files, or remnants of deleted files, may reside in free space

       or slack space—that is, in space on the storage medium that is not currently being used by

       an active file—for long periods of time before they are overwritten. In addition, a

       computer’s operating system may also keep a record of deleted data in a “swap” or

       “recovery” file.

               c.   Wholly apart from user-generated files, computer storage media—in

       particular, computers’ internal hard drives—contain electronic evidence of how a computer

       has been used, what it has been used for, and who has used it. To give a few examples,

       this forensic evidence can take the form of operating system configurations, artifacts from

       operating system or application operation, file system data structures, and virtual memory

       “swap” or paging files. Computer users typically do not erase or delete this evidence,

       because special software is typically required for that task. However, it is technically

       possible to delete this information.

               d.   Similarly, files that have been viewed via the Internet are sometimes

       automatically downloaded into a temporary Internet directory or “cache.”

       14.     Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the Target

Devices were used, the purpose of their use, who used them, and when. There is probable cause

to believe that this forensic electronic evidence might be on the Target Devices because:



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          a.     Data on the storage medium can provide evidence of a file that was once on

the storage medium but has since been deleted or edited, or of a deleted portion of a file

(such as a paragraph that has been deleted from a word processing file). Virtual memory

paging systems can leave traces of information on the storage medium that show what tasks

and processes were recently active. Web browsers, e-mail programs, and chat programs

store configuration information on the storage medium that can reveal information such as

online nicknames and passwords. Operating systems can record additional information,

such as the attachment of peripherals, the attachment of USB flash storage devices or other

external storage media, and the times the computer was in use. Computer file systems can

record information about the dates files were created and the sequence in which they were

created.

          b.     Forensic evidence on a device can also indicate who has used or controlled the

device.        This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence.

          c.     A person with appropriate familiarity with how an electronic device works

may, after examining this forensic evidence in its proper context, be able to draw

conclusions about how electronic devices were used, the purpose of their use, who used

them, and when.

          d.     The process of identifying the exact electronically stored information on a

storage medium that are necessary to draw an accurate conclusion is a dynamic process.



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       Electronic evidence is not always data that can be merely reviewed by a review team and

       passed along to investigators. Whether data stored on a computer is evidence may depend

       on other information stored on the computer and the application of knowledge about how

       a computer behaves. Therefore, contextual information necessary to understand other

       evidence also falls within the scope of the warrant.

               e.   Further, in finding evidence of how a device was used, the purpose of its use,

       who used it, and when, sometimes it is necessary to establish that a particular thing is not

       present on a storage medium.

       15.     Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant your affiant is applying for would permit the examination of the Target

Devices consistent with the warrant.       The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium, that might

expose many parts of the Target Devices to human inspection in order to determine whether they

contain evidence described by the warrant.

       16.     Manner of execution. Because this warrant seeks only permission to examine

devices already in law enforcement possession, the execution of this warrant does not involve the

physical intrusion onto a premises. Consequently, your affiant submits there is reasonable cause

for the Court to authorize execution of the warrant at any time in the day or night.

       17.     This affidavit is based upon information witnessed by your affiant, or provided to

me by other law enforcement officers/agents, informants, and witnesses, all of whom your affiant



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believes to be credible. Because this affidavit is being submitted for the limited purpose of

securing a search warrant for the aforementioned target devices, your affiant has not included each

and every fact known to him concerning this investigation. He has set forth only the facts which

he believe are necessary to establish probable cause for the issuance of a Search and Seizure

Warrant.




                                      PROBABLE CAUSE

       18.     On April 12, 2020 at approximately 1025 hours Eastern Daylight Time (EDT)

(NOTE: all times hereinafter are expressed in EDT unless otherwise noted), a suspected

destructive device (hereinafter referred to as Device 1) was thrown over the fence of the

Metropolitan Police Department of the District of Columbia (MPD) Sixth District Headquarters

(6D) building located at 5002 Hayes Street Northeast, in Washington, DC. Officers from the MPD

6D station heard the noise of Device 1 breaking and responded outside to find a fire in the parking

lot. The District of Columbia Fire Department (DCFD) was subsequently called and responded as

did the investigators from the DCFD Fire Investigations Unit (FIU).

       19.     An examination of the scene found that Device 1 had functioned but left sizable

post-initiation fragmentation. This fragmentation showed that Device 1 was comprised of a glass

bottle with a wick placed into the neck of the bottle. An accelerant detection canine was utilized

and alerted, indicating the presence of ignitable liquids on the remnants of Device 1. Based upon

your affiant’s training and experience, your affiant believes that Device 1 is a suspected improvised



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incendiary bomb, often referred to as a Molotov cocktail, and therefore would fall under the

definition of a destructive device as defined in Title 26, United States Code, Section 5845 (f) as

well as the definition of a firearm, which includes a destructive device, as defined in Title 18,

United States Code, Section 921(a)(3). The remnants of Device 1 were taken into evidence and

sent to the ATF National Forensic Laboratory – Washington, for further analysis. Upon completion

of that analysis a formal destructive device determination will be completed.

       20.     After this incident, investigators canvased the immediate area surrounding the

MPD 6D station and spoke with an individual who your affiant will refer to as Confidential Source-

1 (CS-1). CS-1 stated he/she was walking his/her dog and saw an individual described as a black

male, medium complexion, five feet eight inches tall, unknown age, slim build, with unkempt, low

cut hair, wearing a black jacket with unknown white and yellow lettering on it and blue jeans

stuffing a blue rag into a bottle shortly before Device 1 was thrown into MPD 6D’s parking lot.

Video surveillance from the MPD 6D station shows CS-1 entering his/her residence with a canine

shortly before Device 1 is seen coming over the fence into the parking lot.

       21.     On April 22, 2020, at approximately 1751 hours an officer with MPD (hereinafter

referred to as Officer 1) was parking an unmarked police car in front of the 6D station at 5002

Hayes Street Northeast, Washington, DC, at which time an individual later identified as Ashton

Nesmith, wearing a black long sleeve shirt and black sweatpants, walked toward Officer 1 while

holding a suspected destructive device, hereinafter referred to as Device 2. Nesmith lit Device 2

and threw it at the MPD officer while he was sitting in the aforementioned MPD vehicle. Device



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2 struck the vehicle’s front windshield on the driver’s side, bounced off and landed behind the

vehicle where it functioned as designed, starting a fire.

       22.     After throwing Device 2 at Officer 1, Nesmith fled on foot. Officer 1, along with

other MPD officers (including one who witnessed the incident) chased and apprehended Nesmith

in front of 711 49th Street Northeast, Washington, D.C.

       23.     Your affiant responded to the scene and observed the post initiation fragmentation,

to include shards of glass and a burned wick. Your affiant then asked Officer 1 to show him the

path that Nesmith fled after throwing Device 2. When Officer 1 and your affiant arrived at the

location where Nesmith was apprehended, your affiant observed a lighter sitting on the ground at

that location. This lighter was then collected by the District of Columbia Department of Forensic

Sciences (DFS).

       24.     An accelerant detection canine was utilized and alerted to the presence of ignitable

liquids on the remnants of Device 2. Based upon your affiant’s training and experience, your

affiant believes that Device 2 is also a suspected improvised incendiary bomb, often referred to as

a Molotov cocktail, and therefore would fall under the definition of a destructive device as defined

in Title 26, United States Code, Section 5845 (f) as well as the definition of a firearm, which

includes a destructive device, as defined in Title 18, United States Code, Section 921(a)(3). The

remnants of Device 2 were taken into evidence and will be sent to the ATF National Forensic

Laboratory – Washington, for further analysis. Upon completion of that analysis a formal

destructive device determination will be completed.



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       25.    The MPD vehicle that Officer 1 was driving at the time of the incident was bearing

Washington, D.C. license plate DC12507. Your affiant queried the National Law Enforcement

Telecommunication System (NLETS) for DC12507 which returned the following information:

       QRY/VEHICLE REGISTRATION


       LIC/DC12507. EXP/2020-07-15 00:00:00. LIT/GOVERNMENT VEHICLE/METRO.


       VIN/3FA6P0LU9JR271327. VYR/2018. VMA/FORD. VMO/189. VST/.


       NAM/, METROPOLITAN POLICE DEPARTMENT. DOB/. OLN/


       ADR/2175 WEST AVE NE, WASHINGTON DC 200021833.


       VTI/K2236612 .


       STATUS:ACTIVE


       26.     A query of the Department of Transportation, National Highway Traffic Safety

Administration database reveals that VIN 3FA6P0LU9JR271327 was manufactured in

HERMOSILLO, MEXICO The vehicle is the property of the Metropolitan Police Department and

the District of Columbia Government. Both the Metropolitan Police Department and the District

of Columbia Government conduct business in interstate commerce, for instance by purchasing

vehicles and other equipment and supplies in interstate commerce.         The activities of the

Metropolitan Police Department and the District of Columbia Government in enacting and

enforcing laws also affect interstate commerce. The vehicle sustained minor visible damage to the


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front windshield where the device struck and bounced off. The device functioned as designed in

the street and there was no damage to other property or persons.

       27.      A query of the National Firearms Registration and Transfer Record (NFRTR) show

that NESMITH has no registered firearms (as defined by the National Firearms Act) to include

destructive devices.

       28.      On April 23, 2020, the Honorable Deborah A. Robinson, Magistrate Judge of the

United States District Court for the District of Columbia issued a Search and Seizure Warrant for

the residence of Ashton Nesmith located at 4501 Clay Street Northeast, Washington, D.C.

       29.      On April 24, 2020, your affiant, along with other members of law enforcement

executed the aforementioned warrant. During the search of this residence the devices listed below

were located in the front room of the residence. They were then seized and subsequently processed

into ATF evidence under the following item numbers:

 Item #      Description
             COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1688
 000011      CELL PHONE, IMEI: 355729075084355, WITH NO SIM
             COMPUTER EVIDENCE: CELL PHONE, ONE TCL WITH SIM CARD
 000013      BEARING ICCID: 8901260022115829939
             COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1897
 000014      CELL PHONE, IMEI: 354834093001752, WITH CASE AND NO SIM
             COMPUTER EVIDENCE: CELL PHONE, ONE CELL PHONE MOD:
 000015      ONE TOUCH 875T, IMEI: 013337000537770 WITH SIM
             COMPUTER EVIDENCE: CELL PHONE, ONE MOTOROLA MOD:
 000016      XT1921-3 CELL PHONE, IMEI: 354146091623978 WITH NO SIM
             COMPUTER EVIDENCE: CELL PHONE, ONE APPLE MOD A1660
 000017      CELL PHONE, IMEI: 359461082313108 WITH NO SIM




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        30.      During the execution of this search warrant the only other resident (besides Ashton

Nesmith) hereinafter referred to as Confidential Source 2 (CS-2) 1 told members of law

enforcement that Ashton Nesmith slept in the front room of the residence on the couch. Further

she stated that the items surrounding the couch belonged to Ashton Nesmith. Additionally, upon

completion of the search, as your affiant was explaining that law enforcement had seized six

cellular telephones from the residence, CS-2 stated that he/she had three cellular telephones, one

with him/her and two more in her room. CS-2 then asked your affiant if he/she could make sure

that the other two devices were still in his/her bedroom.

        31.      Your affiant then escorted CS-2 back to the bedroom where he/she located the other

two cellular telephones that CS-2 stated belonged to him/her.

        32.      The Target Devices are currently in secure storage at the ATF Offices located at

90 K Street Northeast, Washington, D.C.

                                              CONCLUSION

        33.      Your affiant alleges the aforementioned facts show that there is probable cause to

believe that evidence and instrumentalities of violations of the explosives, firearms and arson laws,

specifically, Title 18, United States Code, Sections 844(i), 924(c) and Title 26, United States Code

Section 5861(d) and (f) committed by Ashton Nesmith, are confined Target Devices.


1
 Though CS-2 was not advised of his/her Miranda rights, CS-2 was not in police custody. Further, CS-2 was not
handcuffed at any point and CS-2 was told by law enforcement that he/she could leave at any time.




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       34.    I submit that this affidavit supports probable cause for a warrant to search the

Target Devices described in Attachment A and to seize the items described in Attachment B.

                                               Respectfully submitted,
                                                                      Digitally signed by STEVEN
                                              STEVEN                  LETTENEY
                                                                      Date: 2020.04.30 16:16:59
                                              LETTENEY                -04'00'
                                               STEVEN LETTENEY
                                               Special Agent
                                               BUREAU OF ALCOHOL, TOBACCO,
                                               FIREARMS & EXPLOSIVES

       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on May 1, 2020



       _________________________________________
       G. MICHAEL HARVEY
       UNITED STATES MAGISTRATE JUDGE




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